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        2:20-cr-00071-NJB-JVM              Page:
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                   United States Court of Appeals
                                 FIFTH CIRCUIT
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LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
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                                                          NEW ORLEANS, LA 70130

                             April 12, 2022


Ms. Carol L. Michel
U.S. District Court, Eastern District of Louisiana
500 Poydras Street
Room C-151
New Orleans, LA 70130

      No. 21-30326     USA v. Harris
                       USDC No. 2:20-CR-71-1


Dear Ms. Michel,
Enclosed is a copy of the judgment issued as the mandate and a
copy of the court’s opinion.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Majella A. Sutton, Deputy Clerk
                                  504-310-7680
cc:
      Mr.   Kevin G. Boitmann
      Ms.   Diane Hollenshead Copes
      Mr.   Gaven Dall Kammer
      Mr.   Jon Michael Maestri
      Mr.   Jeffrey Ryan McLaren
      Mr.   James Roy Washington III
